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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA



HPK MANAGEMENT D.O.O. and HPK
ENGINEERING B.V.,

                         Petitioners,
                                                          Civ. No. 1:18-cv-1773
              r~

THE REPUBLIC OF SERBIA and ZELEZARA
SMEDEREVO D.O.O.,

                         Respondents.


     DECLARATION OF JAMES M.HOSHING IN SUPPORT OF MOTION FOR
                     ADMISSION PRO HAC VICE

I,James M. Hosking, hereby declare:

   1. My name, office address, and telephone number are as follows:

       James M. Hosking
       Chaffetz Lindsey LLP
       1700 Broadway, 33`d Floor
       New York, New York 10019
       Tel: 212-257-6960

   2. I have been admitted to the following courts and bars:

       New York State Supreme Court (July 30, 2001) (NYS Attorney Registration No.
       3988953)
       Second Circuit Court of Appeals (Oct. 17, 2011)
       U.S. District Court for the Southern District of New York (July 20, 2004)(SDNY Bar
       No.: JH5058)
       U.S. District Court for the Eastern District of New York (Aug. 1, 2008)(EDNY Bar No.:
       JH5058)
       High Court of New Zealand (September 1995)

   3. I am currently in good standing with all states, courts and bars in which I am admitted.

   4. I have not been admitted pro hac vice in this Court within the last two years.
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   5. I do not have an office located within the District of Columbia.

      I declare under penalty of perjury that the foregoing is true and correct. Executed in New

   York, New York, this 31st day of July, 2018.



Dated: New York, New York              Respectfully submitted,
       July 31, 2018
                                        CHAFFETZ LINDSEY LLP

                                        By:
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                                              Attorneysfor Petitioners
                                              HPK Management D.O.O. and
                                              HPK Engineering B. V.
